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                       UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                              CRIMINAL ACTION

v.                                                    NO. 12-1

GERARD J. HOWARD ET AL.                               SECTION "F"

                             ORDER AND REASONS

       Before the Court are motions to quash subpoenas for testimony

at an evidentiary hearing.        For the reasons that follow, the Court

GRANTS the motions in part and DENIES them in part.

                                  Background

         On November 8, 2013, defendant Telly Hankton moved for

sanctions and requested an evidentiary hearing, contending that FBI

agents violated the secrecy mandate of Rule 6(e) of the Federal

Rules of Criminal Procedure by meeting with news reporters on

October 10, 2012, approximately one week before the return of the

second superseding indictment in this case and just three days

before the publication of an article predicting the indictment and

its contents.      Then, on February 3, 2014, Telly Hankton moved to

dismiss the indictment and sought an evidentiary hearing all for

the same reasons.       On February 5, 2014, the Court granted Telly

Hankton's request for oral argument on his motions for sanctions

and to dismiss the indictment and set a hearing date for March 27,

2014. The Court's order provided that presentation of argument and

evidence would be allowed at the hearing.


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     Andre Hankton joined in the motion to dismiss the indictment,

and both Andre Hankton and Telly Hankton requested the issuance of

subpoenas for testimony at the hearing to the newspaper reporters,

John Simerman and Gordon Russell, to FBI special agents R. D.

Hardgrave and Keith Burriss, and to former FBI Special Agent-in-

Charge Todd Cox.     Mr. Simerman, Mr. Russell, their former employer

The Times Picayune, and the Government now move to quash the

subpoenas.

                          Law and Application

     Rule 17(b) of the Federal Rules of Criminal Procedure provides

in part:

     Upon a defendant's ex parte application, the court must
     order that a subpoena be issued for a named witness if
     the defendant shows an inability to pay the witness's
     fees and the necessity of the witness's presence for an
     adequate defense.

In accordance with Rule 17(b), defendants requested the issuance of

five subpoenas for testimony at the March 27th hearing, and the

Court granted those requests.1

         A motion to quash is governed by the same rules governing the

issuance of a subpoena under Rule 17(b).       United States v. Pitts,

569 F.2d 343, 349 n.10 (5th Cir. 1978).       "The decision to grant or

deny a Rule 17(b) motion is vested in the sound discretion of the



     1
        The movants originally argued that the subpoenas requested
by Telly Hankton should be quashed because they were improperly
issued under Rule 17(d); however, the Court has since granted Telly
Hankton's request that his subpoenas be reissued under Rule 17(b).

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trial court."     United States v. Bowman, 636 F.2d 1003, 1013 (5th

Cir. 1981).     However, the breadth of the court's discretion is

narrowed by the defendant's Fifth and Sixth Amendment rights.

Welsh v. United States, 404 F.2d 414, 417 (5th Cir. 1968).                 As a

threshold requirement, the defendant must allege facts that, if

true,    demonstrate   the   necessity    of   the   subpoenaed    witnesses'

testimony.    United States v. Ramirez, 765 F.2d 438, 441 (5th Cir.

1985).     "Necessity"   has   been   defined    as   anything     "relevant,

material, and useful to an adequate defense."              United States v.

Barker, 553 F.2d 1013, 1020 (6th Cir. 1977).            Once the defendant

shows necessity, the Court may deny or quash the subpoenas only if

the Government shows that the defendant's averments are untrue or

that the request is otherwise frivolous. Ramirez, 765 F.2d at 441.

"That test places the burden of showing frivolity or abuse of

process on the Government, where it properly belongs."             Welsh, 404

F.2d at 417-18.

     The movants contend that the subpoenas should be quashed

because defendants fail to demonstrate that the requested testimony

is necessary.   Defendants, however, assert that they need both the

agents' and the reporters' testimony to prove their alleged Rule

6(e) secrecy violations.       The Court agrees.        Because defendants

seek to prove that the agents violated grand jury secrecy during

their October 10th meeting with the newspaper reporters, testimony

from both the agents and the reporters would be relevant, material,


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and useful to an adequate defense.        Barker, 553 F.2d at 1020.

     This is true even though Agents Hardgrave and Burriss have

executed affidavits denying any improper disclosures.            The agents

admit that they disclosed certain information at the October 10th

meeting,   and   although   they   deny   being   the   source    of   other

disclosures, only Mr. Simerman, the author of the October 13th

article, can confirm the identity of his sources.2             Neither Mr.

Simerman nor Mr. Russell, who also attended the October 10th

meeting, or former Special Agent Cox have yet to be on the record

in this case.3


     2
        Mr. Simerman and Mr. Russell maintain that their testimony
will be strictly cumulative, but the Court disagrees. See United
States v. Romano, 482 F.2d 1183, 1195 (5th Cir. 1973)("District
courts have the discretion to prevent the abuse of Rule 17(b) by
refusing to subpoena witnesses whose testimony would be cumulative
only."). The reporters' testimony will not be cumulative, because
they may or may not contradict the agents' testimony regarding
defendants' allegations that the agents disclosed grand jury
information.
     3
         The Court recognizes the newspaper reporters' rights to
certain First Amendment protections. In Branzburg v. Hayes, 408
U.S. 665, 706-09 (1972), the Supreme Court mandated that harassment
of newsmen will not be tolerated. In his concurrence, Justice
Powell explained that "if the newsman is called upon to give
information bearing only a remote and tenuous relationship to the
subject of the investigation . . . he will have access to the court
on a motion to quash." Id. at 710. Where, as here, a criminal
defendant seeks a subpoena for news gathering information, courts
have required a heightened burden on the defendant to prove that
the information requested is highly relevant, necessary to the
proper presentation of the case, and unavailable from other
sources. See, e.g., United States v. Cutler, 6 F.3d 67, 71 (2d.
Cir. 1993); United States v. Caproale, 806 F.2d 1487, 1504 (11th
Cir. 1986); United States v. Cuthbertson, 630 F.2d 139, 146 (3d
Cir. 1980).    Mr. Simerman's and Mr. Russell's First Amendment
rights provide additional support for the Court's decision to grant

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     Defendants have alleged facts sufficient, if true, to satisfy

the necessity of the subpoenaed witness' testimony.               Ramirez, 765

F.2d at 441.    The Government, on the other hand, has not shown that

defendants' allegations are untrue, or that the subpoenas are

frivolous.     Id.    The Government concedes that Agents Hardgrave and

Burriss met with Mr. Simerman and Mr. Russell just days before the

publication of the article in which the return of the indictment

and its contents were predicted. The Government also concedes that

the agents provided the reporters with certain information that

appeared in the article and the accompanying chart. The Government

even admits that a copy of the October 13th article was present in

the grand jury room during deliberations.            To the extent that the

subpoenas require testimony related to the October 10th meeting and

the October 13th article, they are not at all frivolous or an abuse

of process.    Nor can they, on the present record, be characterized

as innocent or lawful.

     However,        the   Government   correctly    points   out    that   the

subpoenas    are     quite   broad.     Defendants    also    seek   testimony

concerning other cases investigated by the FBI and other articles

written by different reporters.         That sort of widespread effort is

improper.     Defendants fail to show how testimony regarding other

investigations and other articles is necessary to show that Agents

Hardgrave and Burriss disclosed grand jury material to reporters at


and narrow the scope of the motions to quash.

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the October 10th meeting.      It is the paradigm of false theatre, and

seems wholly irrelevant.

     Accordingly, the motions to quash are GRANTED in part and

DENIED   in   part.   Testimony     at   the    hearing,    whenever     it     is

conducted,4 must directly relate to and be limited to the October

10, 2012 meeting and the October 13, 2012 Times Picayune article.5




     4
       The March 27th hearing date has been continued due to
Agent Hardgrave's medical issue.
     5
        Although the Court has now repeatedly ordered testimony on
defendants' motions for sanctions and to dismiss the indictment,
the Government maintains that an evidentiary hearing is not
warranted. The Government contends that under In re Grand Jury
Investigation (Lance), 610 F.2d 202, 219 (5th Cir. 1980), a
defendant must make a prima facie showing of a Rule 6(e) violation
before he is entitled to an evidentiary hearing, but that the
defendants have failed to do so here. The Court has considered the
Government's position and disagrees.       Defendants have made a
sufficient prima facie showing that the October 13th article might
have disclosed secret grand jury information, and that the article
infers that the FBI agents were the source. Id. at 216-17. The
Court presumes that all statements in the October 13th article were
correct, and has considered the extent to which the relief
requested by defendants will interfere with the grand jury process
(civil contempt was a point of distinction in Lance as opposed to
dismissal of the indictment). Id. at 219. The Court has also
considered the evidence presented by the Government, including the
affidavits from Agents Burriss and Hardgrave. Id. at 220. After
examining all of the materials presented, the Court is persuaded
that defendants have made a prima facie showing of a Rule 6(e)
violation sufficient to warrant the evidentiary hearing, even
though the record in this case is not as compelling as in Lance, in
which the DOJ and U.S. Attorney's Office refused to submit
affidavits denying that they or their staff had discussed grand
jury matters with the press.

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                         New Orleans, Louisiana, March 26, 2014



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                                    MARTIN L. C. FELDMAN
                                UNITED STATES DISTRICT JUDGE




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